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                Exhibit B
                       Case 1:19-cr-10045-ADB Document 33-2 Filed 05/31/19 Page 2 of 4
                                                           ARREST REPORT
                                                         State Police Framingham
                                                                                                               450 Worcester Road, Route 9
                                                                                                                          Framingham, MA
 CASE#                                                                                                                            (508) 820-2250
 Invest Offic;er:   Trooper Mlc:hael Bucca IOI 3922                                      Court Stoughton DC
 Agency:            H-2

Affas(es):                                                      Distinguishing Mar1cs:

                                                                Tattoo
                                                                LocaUan;Foreann,LII                           Oesc;;npUon: "RIP Skeet"
                                                                Location:Forearm,Rt                           Description:   mlly first"
                                                                Loca on: Nedt                                 Description: Gemini sign

 Vehlcle(a):
                                                                                                                                           a
GA PAN CHM3511 2018 Toyota Camry \A.i'HITE                                                                               Towed Interst te Towing
VIN: 4T1811HK1JUS69222

VIN:


VIN:

 Other Property/Evidence Involved In case:

FIREARMS
EVIDENCE
  orth American Arms .22 cal revolver# 195528

Value:                      StOlen:                   Seized:                     Recovered:

WEAPONS OTHER THAN FIREARMS
EVIDE CE
 (5) .22 cafiber rounds.

Value: 0                    Stolen:                   Seized:                     Recovered:


Arrest Narrative:


                                                                BOYD primary.

 By Trooper Michael J Bucca #3922
                                                                           u
 I. On Monday 1/26/2018 at approximately 1403 hors [, Trooper Michael Bucca #3922 was traveling
 north on Route 95 in The Town of Canton (a public way maintained by the Massachusetts Department of
 Transportation) behind a white Toyota Camry bearing Georgia registration CHM35 l l. While traveling
 behind said vehicle in the first travel lane, I observed the operator cross over the solid white fog line with
 both pas enger side tires. Having observed this chapter 89 section 4A violation, I activated my emergency
 blue lights and stopped the vehicle as it merged onto Route 93 north bound prior to exit 2A in Canton (a
 public way maintained by the Massachusetts Department of Transportation).

 2. As the vehicle came to a stop in the break down lane on Route 93, I observed the operator lifted his
 body off of the drivers seat and leaned towards the drivers side window with his left shoulder. As I
 approached the passenger side window I noticed the operators wallet and Massachusetts drivers license in


Trooper Michael Bucca ID# 3922

                                                                                                                      Boyd_000000012
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Invest Officer:   Trooper Michael Bucca IOI 3922                                    Court: Stoughton DC
Agency:           H-2

his left hand and an open 1.75 liter bottle of Hennessey on the passenger seat. Trooper Micciche #4006 then
arrived on scene to assist. The operator (single occupant) later identified as the Defendant in this matter
BOYD, Reginald (doh 6/19/1989) appeared extremely nervous, bis hands were shaking as he handed me his
drivers license and produced the registration from the glove box. BOYD would not make eye contact and
told me he just came from court. It should be noted I had not asked BOYD any questions regarding his
whereabouts prior to the traffic stop. BYOD then immediately put both hands over his jacket pockets,
grasped them and reached his right hand into the right jacket pocket. I told BOYD to stop reaching into his
p~ckets and keep his hands visible. BOYD apologized and almost instantly put his right hand into the front
right pocket of his pants. I again told him to stop moving around. BOYD leaned forward towards the
steering wheel and pat his right front pant pocket again. I had his license and registration, there was no
articulable reason for him to be reaching for or attempting to retrieve anything further. In fear for my safety
as BOYD could be attempting to reach for a weapon, I repositioned myself to the drivers side door. and
ordered BOYD from the vehicle.

3. BOYD exited the vehicle with his arms out to his side paralJel with the ground as he walked towards the
rear of his vehicle. While doing so he looked to his left and to his right and again reached into his right
jacket pocket. His right hand was removed from his pocket and placed onto the trunk, simultaneously
BOYD p)aced his left hand into his left jacket pocket which he was to.Id to remove. I asked BOYD if be had
any weapons on him to which he did not reply and looked forward. As I pat frisked his outer gannents for
weapons I feJt a distinct solid metal object in bis right rear pocket. The object felt consistent with that of a
small handgun. A loaded North American Anns .22 caliber stainless steel revolver (serial# Ll95528) was
removed from his right rear pant pocket. The revolver containing 5 rounds of .22 caliber ammunition was
handed over to Trooper Micciche. BOYD was immediately placed under arrest and handcuffed. While
doing so, BOYD stated quote I have it to scare people, but I've never used it. BOYD was read his right per
Miranda and seated in the rear of my cruiser. BOYD was advised that he was under arrest for fireaim
violations.

 4.   Interstate Towing was notified and a motor vehicle inventory was completed per dept policy. BOYD
was then transported back to SP Framingham for booking. BOYD was issued a civil electronic citation
#231050AA for chapter 89 ection 4A and chapter 90 section 241 violations. The Handgun was placed into a
Handgun Collection and Storage Box and placed into the temporary storage locker along with the evidence
submission fonn. BOYDS criminal history indicated he is on active probation out of Dorchester District
Court until 8/10/2021, for possession, distribute class B (DKT#1607CR001588A). BOYD was also found
guilty on 1/5/2009 out of Boston Federal Court for distr·buti.og/dispense class B (school zone) (DKT#
081026701). Bail commissioner Stephen LeDuc was notified and set bail at $l5,000.

5. BOYD has been charged with the following·
269/10/4- Possession I carrying a firearm.
269/10/N- Carrying a loaded firearm.

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Trooper Micha Bucca I~ 3922

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                                                         ARREST REPORT
                                                      State Police Framingham
                                                                                                        450 Worcester Road, Route 9
                                                                                                                    Framingham, MA
                                                                                                                     {508) 820-2250

Invest Officer:   Trooper Michael Bucca IOI 3922                                  Court: Stoughton DC
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 269/10/H- Possession of a firearm without FID card.
 269/10/H/l- Possession of ammo without FID card.
 269/l0G/B- Firearm violation with two prior violent/drug crimes.



 Respectfully submitted,
 Trooper Michael Bucca #3922
 SP Framingham H-2




  Trooper Michael J Bucca #3922                                                     Trooper Michael J Bucca '3922




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Trooper Mlchael Bucca IOI 3922
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